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                            APPENDIX A:
     SAMPLE OF HARRIS COUNTY EXPENDITURES FOR AT-ISSUE PRODUCTS
                              2013-2018 *

                  Grand Total                                               $27,531,371.68
                                        ELI LILLY AND COMPANY
                  At-Issue Drugs             Type of Product                        Harris Cost
                  TOTAL                                                           $11,912,189.50
                    Basaglar               Analog (Long-Acting)                      $360,502.64
                       2017                                                           $21,007.48
                       2018                                                          $339,495.16
                    Humalog                Analog (Rapid-Acting)                   $4,849,376.34
                       2013                                                          $303,322.15
                       2014                                                          $440,247.93
                       2015                                                          $550,441.08
                       2016                                                          $660,364.97
                       2017                                                        $1,238,628.89
                       2018                                                        $1,656,371.32
                    Humulin                Human                                   $1,543,186.63
                       2013                                                          $174,123.37
                       2014                                                          $198,524.78
                       2015                                                          $194,258.90
                       2016                                                          $252,211.75
                       2017                                                          $355,511.18
                       2018                                                          $368,556.65
                    Trulicity              Type 2 Medication                       $5,159,123.89
                       2014                                                            $1,922.15
                       2015                                                          $133,281.05
                       2016                                                          $487,987.73
                       2017                                                        $1,843,972.03
                       2018                                                        $2,691,960.93




*
  These charts reflect current available expenditure data; it does not present Harris County’s total spend on drugs at-
issue for the entire relevant time period.


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                            NOVO NORDISK
        At-Issue Drugs                             Harris Cost
        TOTAL                                     $8,967,429.34
          Levemir        Analog (Long-Acting)     $1,539,038.29
             2013                                   $154,726.22
             2014                                   $277,977.85
             2015                                   $378,555.06
             2016                                   $381,859.09
             2017                                    $59,282.04
             2018                                   $286,638.03
          Novolin        Human                       $77,513.10
             2013                                    $12,875.91
             2014                                    $17,308.67
             2015                                    $20,842.82
             2016                                    $19,023.14
             2017                                     $4,613.28
             2018                                     $2,849.28
          Novolog        Analog (Rapid-Acting)    $2,674,718.89
             2013                                   $367,965.14
             2014                                   $543,406.81
             2015                                   $674,211.85
             2016                                   $854,419.52
             2017                                   $191,628.11
             2018                                    $43,087.46
          Ozempic        Type 2 Medication          $163,884.56
             2018                                   $163,884.56
          Tresiba        Analog (Long-Acting)     $1,056,794.18
             2016                                   $117,749.33
             2017                                   $143,106.87
             2018                                   $795,937.98
          Victoza        Type 2 Medication        $3,455,480.32
             2013                                   $426,390.36
             2014                                   $694,315.01
             2015                                   $799,151.18
             2016                                   $982,472.81
             2017                                   $301,734.18
             2018                                   $251,416.78




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                           SANOFI-AVENTIS
        At-Issue Drugs                             Harris Cost
        TOTAL                                     $6,651,752.84
          Apidra         Analog (Rapid-Acting)      $537,691.29
             2013                                    $60,575.29
             2014                                   $105,570.85
             2015                                   $148,698.70
             2016                                   $153,630.34
             2017                                    $44,789.28
             2018                                    $24,426.83
          Lantus         Analog (Long-Acting)     $5,254,721.30
             2013                                   $724,796.93
             2014                                 $1,100,704.39
             2015                                 $1,092,002.94
             2016                                 $1,082,001.90
             2017                                   $964,726.09
             2018                                   $290,489.05
          Soliqua        Type 2 Medication           $46,526.35
             2017                                    $16,556.14
             2018                                    $29,970.21
          Toujeo         Analog (Long-Acting)       $812,813.90
             2015                                    $72,092.54
             2016                                   $265,194.81
             2017                                   $421,820.12
             2018                                    $53,706.43




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